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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 9:19-cv-81160
    APPLE INC.,
                       Plaintiff,
            v.

    CORELLIUM, LLC,

                       Defendant.




           DEFENDANT’S SECOND AMENDED RESPONSES TO PLAINTIFF’S
           SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

          Defendant Corellium, LLC (“Corellium”), by and through undersigned counsel, pursuant

   to Federal Rules of Civil Procedure 26 and 34, hereby responds to Plaintiff Apple Inc.’s (“Apple”)

   Second Set of Requests for Production of Documents.

    Dated: February 21, 2020                       Respectfully submitted,

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                                                   and


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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 21st day of February, 2020 a true and correct copy of

   the foregoing document has been furnished via email to counsel of record identified below.

                                    s/ Lizza C. Constantine
                                         Lizza C. Constantine

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                  CORELLIUM’S SECOND AMENDED RESPONSES TO
                APPLE’S SECOND SET OF REQUESTS FOR PRODUCTION


   REQUEST FOR PRODUCTION NO. 88: All Documents related to any contract, arrangement,
   agreement, or informal understanding between Corellium and the United States Government
   relating to or concerning the sale, commercialization or use of the Corellium Apple Product as
   defined on the record.

          RESPONSE: Corellium does not have any documents about the sale or commercialization
          of the Corellium Apple Product in connection with the United States Government nor does
          it have any contracts, arrangements, or agreements with the United States Government.
          Corellium is aware that the United States Government may be using the Corellium Apple
          Product. Corellium will produce responsive documents relative to this awareness.




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